



















IN THE
TENTH COURT OF APPEALS
                       

No. 10-00-285-CR

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;FERRELL RAY GOODWIN,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;v.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;THE STATE OF TEXAS,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee
                                 

From the 54th District Court
McLennan County, Texas
Trial Court # 1994-880-C
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

O P I N I O N
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Ferrell Ray Goodwin pleaded guilty to engaging in organized criminal activity.  The court
deferred an adjudication of guilt and placed him on community supervision for eight years.  Five
years later, the court adjudicated his guilt and sentenced him to eight years’ imprisonment. 
Goodwin presents three issues in which he contends: (1) the evidence is insufficient to support his
guilty plea; (2) this Court should modify the judgment to reflect conviction of a lesser-included
offense; and (3) this Court should reverse the judgment and remand this cause for a new
punishment hearing.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The indictment alleges that on or about May 20, 1994 Goodwin committed the former offense
of theft of property valued at $750 or more but less than $20,000 “with the intent to establish,
maintain and participate in a combination and in the profits of a combination who collaborated in
carrying on said criminal activity.”  See Act of May 27, 1985, 69th Leg., R.S., ch. 599, § 1, 1985
Tex. Gen. Laws 2244, 2245 (amended 1993) (current version at Tex. Pen. Code Ann. §
31.03(e)(4)(A) (Vernon Supp. 2001)); Act of May 27, 1991, 72d Leg., R.S., ch. 555, § 1, 1991
Tex. Gen. Laws 1968, 1969 (amended 1993) (current version at Tex. Pen. Code Ann. §
71.02(a)(1) (Vernon Supp. 2001)).



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Goodwin entered his guilty plea in May 1995.  The court signed its order placing him on
unadjudicated community supervision two months later.  The State filed a motion to adjudicate in
June 1999.  Goodwin pleaded true to the allegations in the State’s motion and presented testimony
in hopes of having his unadjudicated status continued or being adjudicated and placed on “regular”
(adjudicated) community supervision.  The court adjudicated his guilt and sentenced him to eight
years’ imprisonment.
THIS COURT’S JURISDICTION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Goodwin filed a general notice of appeal.  The State contends that, because his notice of
appeal does not comply with Rule of Appellate Procedure 25.2(b)(3), we do not have jurisdiction. 
See Casas v. State, 33 S.W.3d 874, 875 (Tex. App.—Waco 2000, pet. ref’d) (citing Watson v.
State, 924 S.W.2d 711, 714-15 (Tex. Crim. App. 1996)).  However, the Court of Criminal
Appeals has recently limited Watson.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Vidaurri v. State, the Court determined that Rule 25.2(b)(3) does not apply to issues  raised
in a post-adjudication appeal which are “unrelated to [the] conviction.”  No. 151-99, slip op. at
10, 2001 Tex. Crim. App. LEXIS 50, at *13 (Tex. Crim. App. June 20, 2001) (quoting Feagin
v. State, 967 S.W.2d 417, 419 (Tex. Crim. App. 1998)).  Logically then, the rule continues to
apply to “conviction-related” issues.  Cf. id.
GOODWIN’S ISSUES
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his first issue, Goodwin questions the sufficiency of the evidence to support his conviction
for engaging in organized criminal activity under a case the Court of Criminal Appeals decided
four years after the trial court found that the evidence “substantiates [his] guilt.”  Act of May 29,
1993, 73d Leg., R.S., ch. 900, § 4.01, sec. 5(a), 1993 Tex. Gen. Laws 3586, 3719 (amended
1995) (current version at Tex. Code Crim. Proc. Ann. art. 42.12, § 5(a) (Vernon Supp. 2001)). 
In Nguyen v. State, the Court held that a defendant cannot be convicted of engaging in organized
criminal activity if he and his “co-conspirators” agreed to commit only one crime.  1 S.W.3d 694,
697 (Tex. Crim. App. 1999).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Goodwin’s first issue is clearly “conviction-related.”  In the event of a favorable holding in
connection with his first issue, he asks that we modify the judgment to reflect a conviction for the
lesser-included offense of theft over $750 but under $20,000.  Thus, his second issue is also
related to the conviction.  He requests in his third issue that we remand this cause for a new
punishment hearing in the event that we modify the judgment from the second-degree organized
crime conviction to the third-degree theft offense.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because Goodwin’s first and second issues are “conviction-related” and because he filed a
general notice of appeal, we do not have jurisdiction to decide these issues.


  See Casas, 33
S.W.3d at 875; cf. Vidaurri, No. 151-99, slip op. at 10, 2001 Tex. Crim. App. LEXIS 50, at *13. 
Goodwin’s third issue depends on a favorable disposition of his first two issues.  Because we do
not have jurisdiction to decide the first two issues, we need not address his third issue.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss Goodwin’s appeal for want of jurisdiction.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;REX D. DAVIS
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Before Chief Justice Davis,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Vance, and
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Gray
Appeal dismissed for want of jurisdiction
Opinion delivered and filed August 31, 2001
Publish


